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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:05CR267
                                             )
             Plaintiff,                      )
                                             )                    ORDER
             vs.                             )
                                             )
JULIO C. SOTO,                               )
                                             )
             Defendant.                      )

      This matter is before the Court on the Court’s own motion to change the time of the

sentencing hearing in the above matter,

      IT IS THEREFORE ORDERED:

      1.     The sentencing hearing in this matter is moved from 1:00 p.m. to 3:00 p.m.

      on Thursday, December 22, 2005.

      DATED this 21st day of December, 2005.

                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 United States District Judge
